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PROB 12C-WAR

(05/21)
                             UNITED STATES DISTRICT COURT
                                                           for
                                      Western District of Washington
                      Petition for Warrant or Summons for Person Under Supervision
                                           Goitom Robel Keleta 12C_WAR
Name:                  Robel Keleta Goitom                                   Case Number: 2:17CR00132JCC-001
Name of Judicial Officer: The Honorable John C. Coughenour, United States District Judge
Date of Original Sentence: 07/10/2018                                                   Date of Report: 10/02/2023
Original Offense:        Ct 1: Felon in Possession of a Firearm; Ct 2: Bank Fraud
Original Sentence:       23 months’ custody; three years’ supervised release
Type of Supervision: Supervised Release                                 Date Supervision Commenced: 03/01/2022
                                                                            Date Supervision Expires: 02/29/2024
Assistant United States Attorney: Jessica Manca                                   Defense Attorney: Dennis Carroll
Special Conditions Imposed:
 Substance Abuse                   Financial Disclosure               Restitution: $2,851.74
 Mental Health                     Fine                               Community Service
 Other: Participate in an education program, Moral Reconation Therapy, no new credit without permission, no
identification in any other name other than true legal name
                                           PETITIONING THE COURT
☒         To issue a warrant under seal
☐         To issue a summons

I allege Robel Keleta Goitom has violated conditions of supervision by:

  Violation
  Number Nature of Noncompliance
   1.       Failing to provide a valid urine test, on or about September 25, 2025, in violation of a special condition of
            supervised release.

     2.        Unlawfully possessing a firearm on or about October 1, 2023, in violation of a stand condition of
               supervised release




I incorporate by reference the information contained in the attached memorandum.

United States Probation Officer Recommendation:
☒ The term of supervision should be
  ☒ revoked.
  ☐ extended for       years, for a total term of   years.
☐ The conditions of supervision should be modified as follows:

☐ Detention pending final adjudication due to
  ☐ risk of flight.
  ☒ danger to community.
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The Honorable John C. Coughenour, United States District Judge                                            Page 2
Petition for Warrant or Summons for Person Under Supervision                                      October 2, 2023



I swear under penalty of perjury that the             APPROVED:
foregoing is true and correct.                        Monique D. Neal
                                                      Chief United States Probation and Pretrial Services Officer
Executed on this 2nd day of October, 2023.            BY:


A                                                     A
Kenny James                                           Angela M. McGlynn
United States Probation Officer                       Assistant Deputy Chief United States Probation and
                                                      Pretrial Services Officer

                       THE COURT FINDS PROBABLE CAUSE AND ORDERS:
x The Issuance of a Warrant under seal

  (conditions of supervision shall remain in effect pending final adjudication)
 The Issuance of a Summons
  (conditions of supervision shall remain in effect pending final adjudication)
 Other




                                                                          Signature of Judicial Officer
                                                                        10/2/2023
                                                                                      Date
